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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                           PRO MEMO

                                                                  01/22/2025 01:35 PM
                                                                  COURTROOM 8B
HONORABLE CATHERINE MCEWEN
CASE NUMBER:                                                      FILING DATE:
8:24-bk-05243-CPM                         13                        09/03/2024
Chapter 13
DEBTOR:                Xavier Washington


DEBTOR ATTY:           Kelley Petry
TRUSTEE:               Jon Waage
HEARING:
1. Continued Confirmation Hearing
2. Objection to Confirmation of Plan Filed by Seth J Greenhill on behalf of Creditor U.S. Bank National Association, as Indenture
                       Trustee on behalf of and with respect to Barclays Mortgage Trust 2021-NPL1, Mortgage-Backed
                       Securities, Series 2021-NPL1 (related document(s)[3]). (Greenhill, Seth) Doc #12
3. Continued Hearing on Motion to Dismiss Case with Injunction. Filed by U.S. Trustee United States Trustee - TPA7/13 7. (Dorr,
                       Teresa) Doc #15
... - Response to United States Trustee Motion to Dismiss with Prejudice Filed by Kelley M Petry on behalf of Debtor Xavier
                       Charles Alexander Washington II (related document(s)[15]). (Petry, Kelley) Doc #19
.

APPEARANCES::
AAPPEARANCES: via Zoom: Kimberly McIntyre, Kelley Petry, Teresa Dorr, Seth Greenhill, Andre Mouton



RULING:



1. Continued Confirmation Hearing


...Continued in open court to 3/5/2025 at 1:35 p.m. - no further notice will be given...



 All parties may attend the hearing in person. Parties are directed to review Judge McEwen's Procedures Governing Court
AAPPEARANCES: (available at https://www.flmb.uscourts.gov/judges/tampa/mcewen/Judge_McEwen_Hearing_Procedures.pdf)
for her policies and procedures for remote attendance at hearings by video or telephone via Zoom.


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Trustee on behalf of and with respect to Barclays Mortgage Trust 2021-NPL1, Mortgage-Backed Securities, Series 2021-NPL1
(related document(s)[3]). (Greenhill, Seth) Doc #12



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Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Failure
to submit proposed orders before this case/adversary proceeding is closed will result in motions/objections/applications being
denied as moot. This docket entry/document is not an official order of the Court.




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